                      Case 22-22158             Doc 9          Filed 06/24/22 Entered 06/24/22 09:25:14                                        Desc Main
                                                                 Document     Page 1 of 33
Fill in this information to identify your case and this filing:

Debtor 1                  Gabriel Rivas
                          First Name                     Middle Name                       Last Name

Debtor 2                  Morgan Rivas
(Spouse, if filing)       First Name                     Middle Name                       Last Name


United States Bankruptcy Court for the:           DISTRICT OF UTAH

Case number            22-22158                                                                                                                       Check if this is an
                                                                                                                                                           amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
   Yes.      Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   Yes

  3.1     Make:        Honda                                                                                                 Do not deduct secured claims or exemptions. Put
                                                            Who has an interest in the property? Check one
                                                                                                                             the amount of any secured claims on Schedule D:
          Model:       Odyssey                               Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
          Year:        2006                                  Debtor 2 only                                                  Current value of the      Current value of the
          Approximate mileage:             120,000           Debtor 1 and Debtor 2 only                                     entire property?          portion you own?
          Other information:                                 At least one of the debtors and another

                                                             Check if this is community property                                      $2,500.00                  $2,500.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
   Yes


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                  $2,500.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

Official Form 106A/B                                                     Schedule A/B: Property                                                                         page 1
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Debtor 1      Gabriel Rivas
Debtor 2      Morgan Rivas                                                                          Case number (if known)     22-22158

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.   Describe.....

                               Beds and Bedding                                                                                                    $250.00


                               Sofa and Related Furnishings                                                                                        $500.00


                               Kitchen Utensils and Cookware                                                                                        $50.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
    Yes. Describe.....
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
    Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
    Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.   Describe.....

                               Clothing                                                                                                            $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
    Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                        $1,300.00

Official Form 106A/B                                         Schedule A/B: Property                                                                   page 2
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Debtor 1          Gabriel Rivas
Debtor 2          Morgan Rivas                                                                                                    Case number (if known)   22-22158


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

                                                         Checking and                           Bank of America - account in the negative on
                                             17.1.       Savings                                the day case was filed                                                        $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
    Yes. Give specific information about them...................
                                                 Name of entity:                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                             Type of account:                                   Institution name:

                                             401(k)                                             401K                                                                     $4,100.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


Official Form 106A/B                                                                    Schedule A/B: Property                                                                page 3
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Debtor 1      Gabriel Rivas
Debtor 2      Morgan Rivas                                                                           Case number (if known)    22-22158

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
    Yes. Give specific information about them...
Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                            Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    No
    Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes. Describe each claim.........
35. Any financial assets you did not already list
    No
    Yes. Give specific information..

Official Form 106A/B                                          Schedule A/B: Property                                                                    page 4
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Debtor 1         Gabriel Rivas
Debtor 2         Morgan Rivas                                                                                                          Case number (if known)   22-22158

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                $4,100.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
   Yes.     Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
      Yes.      Go to line 47.



Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
56. Part 2: Total vehicles, line 5                                                                             $2,500.00
57. Part 3: Total personal and household items, line 15                                                        $1,300.00
58. Part 4: Total financial assets, line 36                                                                    $4,100.00
59. Part 5: Total business-related property, line 45                                                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                        $7,900.00             Copy personal property total            $7,900.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $7,900.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                          page 5
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Fill in this information to identify your case:

Debtor 1                  Gabriel Rivas
                          First Name                 Middle Name                   Last Name

Debtor 2                  Morgan Rivas
(Spouse if, filing)       First Name                 Middle Name                   Last Name


United States Bankruptcy Court for the:        DISTRICT OF UTAH

Case number            22-22158
(if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.           11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from      Check only one box for each exemption.
                                                       Schedule A/B

     2006 Honda Odyssey 120,000 miles                                                                                    Utah Code Ann. §
     Line from Schedule A/B: 3.1
                                                               $2,500.00                                    $400.00
                                                                                                                         78B-5-506(3)
                                                                                 100% of fair market value, up to
                                                                                     any applicable statutory limit

     Beds and Bedding                                                                                                    Utah Code Ann. §
     Line from Schedule A/B: 6.1
                                                                   $250.00                                  $250.00
                                                                                                                         78B-5-505(1)(a)(viii)(E)
                                                                                 100% of fair market value, up to
                                                                                     any applicable statutory limit

     Sofa and Related Furnishings                                                                                        Utah Code Ann. §
     Line from Schedule A/B: 6.2
                                                                   $500.00                                  $500.00
                                                                                                                         78B-5-506(1)(a)
                                                                                 100% of fair market value, up to
                                                                                     any applicable statutory limit

     Kitchen Utensils and Cookware                                                                                       Utah Code Ann. §
     Line from Schedule A/B: 6.3
                                                                    $50.00                                   $50.00
                                                                                                                         78B-5-506(1)(a)
                                                                                 100% of fair market value, up to
                                                                                     any applicable statutory limit

     Clothing                                                                                                            Utah Code Ann. §
     Line from Schedule A/B: 11.1
                                                                   $500.00                                  $500.00
                                                                                                                         78B-5-505(1)(a)(viii)(A)
                                                                                 100% of fair market value, up to
                                                                                     any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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Debtor 1   Gabriel Rivas
Debtor 2   Morgan Rivas                                                                        Case number (if known)     22-22158
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    401(k): 401K                                                                                                        Utah Code Ann. §
    Line from Schedule A/B: 21.1
                                                            $4,100.00                                 $4,100.00
                                                                                                                        78B-5-505(1)(a)(xiv)
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       No
       Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                   Gabriel Rivas
                           First Name                      Middle Name                     Last Name

Debtor 2                   Morgan Rivas
(Spouse if, filing)        First Name                      Middle Name                     Last Name


United States Bankruptcy Court for the:             DISTRICT OF UTAH

Case number            22-22158
(if known)
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B               Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                           value of collateral.   claim                  If any
2.1     Discount Title Loans                     Describe the property that secures the claim:                   $2,100.00                $2,500.00                  $0.00
        Creditor's Name                          2006 Honda Odyssey 120,000 miles

                                                 As of the date you file, the claim is: Check all that
        7225 S 700 W                             apply.
        Midvale, UT 84047                         Contingent
        Number, Street, City, State & Zip Code    Unliquidated
                                                  Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
 Debtor 2 only                                       car loan)

 Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another         Judgment lien from a lawsuit
 Check if this claim relates to a                Other (including a right to offset)
      community debt

Date debt was incurred                                    Last 4 digits of account number



  Add the dollar value of your entries in Column A on this page. Write that number here:                                  $2,100.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                 $2,100.00

Part 2:       List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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Fill in this information to identify your case:

Debtor 1                  Gabriel Rivas
                          First Name                       Middle Name                       Last Name

Debtor 2                  Morgan Rivas
(Spouse if, filing)       First Name                       Middle Name                       Last Name


United States Bankruptcy Court for the:              DISTRICT OF UTAH

Case number            22-22158
(if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
       Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          American First Credit Union                             Last 4 digits of account number         1228                                                        $5,425.00
             Nonpriority Creditor's Name
             Attn: Bankruptcy                                                                                Opened 12/16 Last Active
             Po Box 9199                                             When was the debt incurred?             11/12/21
             Ogden, UT 84409
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
             debt                                                     Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                    Other. Specify     Automobile




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 11
                                                                                                               55885
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Debtor 1 Gabriel Rivas
Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.2      Capital Bank N.A.                               Last 4 digits of account number       7773                                             $104.00
         Nonpriority Creditor's Name
                                                                                               Opened 05/21 Last Active
         2275 Research Blvd. Ste 600                     When was the debt incurred?           8/13/21
         Rockville, MD 20850
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.3      Capital One                                     Last 4 digits of account number       8004                                                $0.00
         Nonpriority Creditor's Name
                                                                                               Opened 01/19 Last Active
         Po Box 31293                                    When was the debt incurred?           02/19
         Salt Lake City, UT 84131
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.4      Citibank                                        Last 4 digits of account number       6173                                             $552.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 06/21 Last Active
         P.O. Box 790034                                 When was the debt incurred?           8/12/21
         St Louis, MO 63179
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Line Secured




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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.5      CPI                                             Last 4 digits of account number       7972                                             $871.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 06/21 Last Active
         29 N Connor                                     When was the debt incurred?           08/20
         Sheridan, WY 82801
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Collection Attorney Rose Creek Dental


4.6      Cws/cw Nexus                                    Last 4 digits of account number       0467                                             $147.00
         Nonpriority Creditor's Name
         Attn: Card Services                                                                   Opened 10/18 Last Active
         Po Box 9201                                     When was the debt incurred?           6/21/19
         Old Bethpage, NY 11804
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.7      Day Knight                                      Last 4 digits of account number       2029                                             $475.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                                                                 Opened 01/19 Last Active
         P O Box 5                                       When was the debt incurred?           10/15
         Grover, MO 63040
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Medical Debt




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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.8      Express Recovery Services, Inc.                 Last 4 digits of account number       2571                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 12/17 Last Active
         2790 Decker Lake Dr                             When was the debt incurred?           03/17
         West Valley City, UT 84119
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Medical Debt Christine Osborne Llc


4.9      Express Recovery Services, Inc.                 Last 4 digits of account number       0155                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 6/25/20 Last Active
         2790 Decker Lake Dr                             When was the debt incurred?           5/20/21
         West Valley City, UT 84119
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Collection Attorney Francis J Clark Dpm


4.1
0        Express Recovery Services, Inc.                 Last 4 digits of account number       8991                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 8/27/19 Last Active
         2790 Decker Lake Dr                             When was the debt incurred?           7/20/20
         West Valley City, UT 84119
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
                                                                              Collection Attorney Utah Pathology Service
          Yes                                            Other. Specify     Inc




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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.1
1        Extra                                           Last 4 digits of account number       8611                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 08/21 Last Active
         150 Sutter Street, P.O. Box 372                 When was the debt incurred?           2/01/22
         San Francisco, CA 94104
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Debit Card


4.1
2        First Premier Bank                              Last 4 digits of account number       0892                                             $458.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 04/19 Last Active
         Po Box 5524                                     When was the debt incurred?           07/19
         Sioux Falls, SD 57117
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.1
3        GCI/Network Direct Inc.                         Last 4 digits of account number       0019                                            $6,247.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 2/01/19 Last Active
         5360 College Blvd, Suite 200                    When was the debt incurred?           7/22/19
         Overland Park, KS 66211
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Check Credit Or Line Of Credit




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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.1
4        Genesis Credit/Celtic Bank                      Last 4 digits of account number       3196                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 3/27/19 Last Active
         Po Box 4477                                     When was the debt incurred?           7/05/19
         Beaverton, OR 97076
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.1
5        Integra Cred                                    Last 4 digits of account number       9283                                                $0.00
         Nonpriority Creditor's Name
                                                                                               Opened 5/06/21 Last Active
         120 S Lasalle St                                When was the debt incurred?           6/21/21
         Chicago, IL 60603
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Unsecured


4.1
6        Kirk A. Cullimore, LLC                          Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         644 East Union Square                           When was the debt incurred?
         Sandy, UT 84070
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Collecting for Adagio Apratments




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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.1
7        MoneyLion, Inc                                  Last 4 digits of account number       6815                                             $280.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                                                                 Opened 09/21 Last Active
         P.O. Box 1547                                   When was the debt incurred?           4/27/22
         Sandy, UT 84091
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Partially Secured


4.1
8        MoneyLion, Inc                                  Last 4 digits of account number       5163                                              $86.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                                                                 Opened 01/21 Last Active
         P.O. Box 1547                                   When was the debt incurred?           3/03/22
         Sandy, UT 84091
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Partially Secured


4.1
9        MoneyLion, Inc                                  Last 4 digits of account number       1316                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                                                                 Opened 09/18 Last Active
         P.O. Box 1547                                   When was the debt incurred?           03/19
         Sandy, UT 84091
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Secured




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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.2
0        MoneyLion, Inc                                  Last 4 digits of account number       0602                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                                                                 Opened 11/18 Last Active
         P.O. Box 1547                                   When was the debt incurred?           04/20
         Sandy, UT 84091
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Secured


4.2
1        Mountain Land Collections, Inc.                 Last 4 digits of account number       7824                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 10/13/20 Last Active
         Po Box 1280                                     When was the debt incurred?           4/28/21
         American Fork, UT 84003
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Medical Debt Medical


4.2
2        Oportun                                         Last 4 digits of account number       3837                                                $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 02/19 Last Active
         Po Box 4085                                     When was the debt incurred?           4/01/19
         Menlo Park, CA 94026
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Unsecured




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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158

4.2
3        OppLoans                                        Last 4 digits of account number       8202                                            $2,150.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 10/21 Last Active
         One Prudential Plaza, 130 E                     When was the debt incurred?           1/31/22
         Randolph St,
         Chicago, IL 60601
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Unsecured


4.2
4        Opportunity Financial, LLC                      Last 4 digits of account number       6911                                                $0.00
         Nonpriority Creditor's Name
         130 East Randolph Street                                                              Opened 01/21 Last Active
         Suite 3400                                      When was the debt incurred?           10/21
         Chicago, IL 60601
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Unsecured


4.2      Outsource Receivables
5        Management                                      Last 4 digits of account number       9304                                             $238.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                           When was the debt incurred?           Opened 02/18
         1349 Washington Blvd
         Ogden, UT 84404
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
                                                                              Collection Attorney Granger Medical Clinic
          Yes                                            Other. Specify     I


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Debtor 2 Morgan Rivas                                                                        Case number (if known)        22-22158


4.2      Outsource Receivables
6        Management                                      Last 4 digits of account number       9305                                             $191.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                           When was the debt incurred?           Opened 02/18
         1349 Washington Blvd
         Ogden, UT 84404
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
                                                                              Collection Attorney Granger Medical Clinic
          Yes                                            Other. Specify     I

4.2
7        Trident Asset Management                        Last 4 digits of account number       9963                                             $741.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                      Opened 01/20 Last Active
         Po Box 888424                                   When was the debt incurred?           07/19
         Atlanta, GA 30356
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
                                                                              Collection Attorney Celtic Bank/Indigo
          Yes                                            Other. Specify     Mastercard

4.2
8        Wells Fargo Bank NA                             Last 4 digits of account number       4868                                                $0.00
         Nonpriority Creditor's Name
         1 Home Campus Mac X2303-01a                                                           Opened 1/16/15 Last Active
         3rd Floor                                       When was the debt incurred?           02/15
         Des Moines, IA 50328
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Secured Credit Card


Official Form 106 E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 11
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Debtor 1 Gabriel Rivas
Debtor 2 Morgan Rivas                                                                                   Case number (if known)       22-22158

4.2
9         Zions Bank                                               Last 4 digits of account number       9047                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                         Opened 1/12/10 Last Active
          2200 So 3270 West                                        When was the debt incurred?           7/01/13
          Salt Lake City, UT 84119
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                           Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify     Credit Card

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                             Total Claim
                        6a.   Domestic support obligations                                                6a.      $                          0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.      $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                          0.00

                                                                                                                             Total Claim
                        6f.   Student loans                                                               6f.      $                          0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                     17,965.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                     17,965.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 11 of 11
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Fill in this information to identify your case:

Debtor 1                  Gabriel Rivas
                          First Name                         Middle Name              Last Name

Debtor 2                  Morgan Rivas
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               DISTRICT OF UTAH

Case number            22-22158
(if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.          You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                                      Document     Page 21 of 33
Fill in this information to identify your case:

Debtor 1                   Gabriel Rivas
                           First Name                            Middle Name       Last Name

Debtor 2                   Morgan Rivas
(Spouse if, filing)        First Name                            Middle Name       Last Name


United States Bankruptcy Court for the:                 DISTRICT OF UTAH

Case number            22-22158
(if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
      Yes
      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                              Schedule D, line
               Name
                                                                                                    Schedule E/F, line
                                                                                                    Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




   3.2                                                                                              Schedule D, line
               Name
                                                                                                    Schedule E/F, line
                                                                                                    Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Gabriel Rivas

Debtor 2                      Morgan Rivas
(Spouse, if filing)

United States Bankruptcy Court for the:        DISTRICT OF UTAH

Case number               22-22158                                                                      Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with            Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                              Occupation           Associate
       Include part-time, seasonal, or
       self-employed work.                    Employer's name      CHG Healthcare

       Occupation may include student         Employer's address
                                                                   PO Box 730
       or homemaker, if it applies.
                                                                   Midvale, UT 84047

                                              How long employed there?        < one year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         4,513.88        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      4,513.88               $      0.00




Official Form 106I                                                       Schedule I: Your Income                                                  page 1
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Debtor 1   Gabriel Rivas
Debtor 2   Morgan Rivas                                                                          Case number (if known)    22-22158


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      4,513.88       $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        435.50       $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $        135.42       $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $                0.00
     5e.    Insurance                                                                     5e.        $        764.83       $                0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $                0.00
     5g.    Union dues                                                                    5g.        $          0.00       $                0.00
     5h.    Other deductions. Specify: FSA                                                5h.+       $        216.67 +     $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,552.42       $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,961.46       $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,961.46 + $            0.00 = $           2,961.46
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $           2,961.46
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                Gabriel Rivas                                                                      Check if this is:
                                                                                                            An amended filing
Debtor 2                Morgan Rivas                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF UTAH                                                           MM / DD / YYYY

Case number           22-22158
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                            Son                                  5                 Yes
                                                                                                                                          No
                                                                                   Son                                  13                Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,500.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                               0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Gabriel Rivas
Debtor 2     Morgan Rivas                                                                              Case number (if known)      22-22158

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                  75.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  25.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 175.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                  20.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  125.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  343.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,013.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,013.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,961.46
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,013.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 -51.54

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                  Gabriel Rivas
                          First Name              Middle Name                   Last Name

Debtor 2                  Morgan Rivas
(Spouse if, filing)       First Name              Middle Name                   Last Name


United States Bankruptcy Court for the:      DISTRICT OF UTAH

Case number            22-22158
(if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                      04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
       Not married
2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
       Debtor 1:                                      Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                      lived there                                                                        lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
       Yes. Fill in the details.
                                           Debtor 1                                                       Debtor 2
                                           Sources of income               Gross income                   Sources of income               Gross income
                                           Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                           exclusions)                                                    and exclusions)




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1     Gabriel Rivas
Debtor 2     Morgan Rivas                                                                             Case number (if known)   22-22158

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
      Yes. Fill in the details.
                                                Debtor 1                                                      Debtor 2
                                                Sources of income              Gross income from              Sources of income            Gross income
                                                Describe below.                each source                    Describe below.              (before deductions
                                                                               (before deductions and                                      and exclusions)
                                                                               exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
      No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No.     Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

          No
      Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
      Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name




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Debtor 1     Gabriel Rivas
Debtor 2     Morgan Rivas                                                                         Case number (if known)   22-22158

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

      No
          Yes. Fill in the details.
      Case title                                       Nature of the case          Court or agency                         Status of the case
      Case number
      Unknown Plaintiff vs Unknown                     BankruptcyChapt             US BKPT CT UT SALT LAK                   Pending
      Defendant                                        er7                                                                  On appeal
      1630822KRA                                                                                                            Concluded

                                                                                                                           Dismissed - 0.00

      GABRIEL RIVAS, MORGAN RIVAS                      Bankruptcy                  UTAH - SALT LAKE CITY                    Pending
      vs Unknown Defendant                             Chapter 7                                                            On appeal
      1630822                                                                                                               Concluded

                                                                                                                           Discharge NA - 0.00

      GABRIEL RIVAS, MORGAN RIVAS                      Bankruptcy                  UTAH - SALT LAKE CITY                    Pending
      vs Unknown Defendant                             Chapter 7                                                            On appeal
      1630822                                                                                                               Concluded

                                                                                                                           Discharge NA - 0.00

      Mr Money vs GABRIEL RIVAS                        SMALL CLAIMS                WEST JORDAN JUSTICE                      Pending
      198300272                                        JUDGMENT                    COURT                                    On appeal
                                                                                                                            Concluded

                                                                                                                           - 1,531.00

      Express Recovery Services Inc vs                 CIVIL JUDGMENT              WEST JORDAN JUSTICE                      Pending
      GABRIEL RIVAS                                                                COURT #2                                 On appeal
      160406434                                                                                                             Concluded

                                                                                                                           - 273.00

      Checknet Inc vs GABRIEL RIVAS                    CIVIL JUDGMENT              WEST JORDAN JUSTICE                      Pending
      150410286                                                                    COURT #2                                 On appeal
                                                                                                                            Concluded

                                                                                                                           - 595.00

      Unknown Plaintiff vs MORGAN                      CIVIL JUDGMENT              SALT LAKE DISTRICT                       Pending
      RIVAS ,MORGAN RIVAS                                                          COURT                                    On appeal
      189920052                                                                                                             Concluded

                                                                                                                           - 1,046.00




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Debtor 2     Morgan Rivas                                                                            Case number (if known)    22-22158

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

          No. Go to line 11.
      Yes. Fill in the information below.
      Creditor Name and Address                            Describe the Property                                        Date                   Value of the
                                                                                                                                                  property
                                                           Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
          No
      Yes. Fill in the details.
      Creditor Name and Address                            Describe the action the creditor took                        Date action was            Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

          No
      Yes
Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
      Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600               Describe the gifts                                       Dates you gave               Value
      per person                                                                                                        the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
          No
      Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total           Describe what you contributed                            Dates you                    Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

          No
      Yes. Fill in the details.
      Describe the property you lost and             Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                          Include the amount that insurance has paid. List pending           loss                           lost
                                                     insurance claims on line 33 of Schedule A/B: Property.




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Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
      Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
      Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
          No
      Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
          No
      Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

          No
      Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents                  Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                               have it?
                                                                   State and ZIP Code)




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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          No
      Yes. Fill in the details.
      Name of Storage Facility                                   Who else has or had access                 Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)         to it?                                                                         have it?
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

          No
      Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                          Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No
      Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                  Status of the
      Case Number                                                Name                                                                           case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
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             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.
      Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                          Describe the nature of the business               Employer Identification number
       Address                                                                                                  Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
      Yes. Fill in the details below.
       Name                                                   Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Gabriel Rivas                                                       /s/ Morgan Rivas
Gabriel Rivas                                                           Morgan Rivas
Signature of Debtor 1                                                   Signature of Debtor 2

Date      June 23, 2022                                                 Date     June 23, 2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2021 to 05/31/2022.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: CHG Healthcare
Income by Month:
 6 Months Ago:                    12/2021               $4,513.00
 5 Months Ago:                    01/2022               $4,513.00
 4 Months Ago:                    02/2022               $4,513.00
 3 Months Ago:                    03/2022               $4,513.00
 2 Months Ago:                    04/2022               $4,513.00
 Last Month:                      05/2022               $4,513.00
                       Average per month:               $4,513.00




Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Soco home photography
Income by Month:
 6 Months Ago:                    12/2021               $1,500.00
 5 Months Ago:                    01/2022               $1,500.00
 4 Months Ago:                    02/2022               $1,500.00
 3 Months Ago:                    03/2022               $1,500.00
 2 Months Ago:                    04/2022                   $0.00
 Last Month:                      05/2022                   $0.00
                       Average per month:               $1,000.00




Official Form 122A-1                    Chapter 7 Statement of Your Current Monthly Income                                page 4
